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UNITED STATES DIS
DISTRICT OF NEV
UNITED STATES OF AMERICA, Case Nb.: 2:
Plaintiff, [Proposed Oxder.ox
Extend Deadlir
Vv. Preliminary Hearing and
File Indictment
ALEJANDRO ORTEGA-JAIME,
aka ENRIQUE GARCIA-RODRIGUEZ,
aka ORLANDO HERNANDEZ,
Defendant.
Based on the stipulation of counsel, good cause appearing, and the best interest of

justice being served; the time requested by this stipulation being excludable in computing
the time within which the defendant must be indicted and the trial herein must commence
pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of
Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):

IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled
on _95/21/2020 at the hour of 4:00 p.m., be vacated and continued to 08/19/2020 at the
hour of 4:00pm |

DATED this 7th day of May, 2020.

apr) \-Yrorecbotn

HONORABLE ELAYNA YOUCHAH -
UNITED STATES MAGISTRATE JUDGE

 
